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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
UNITED STATES OF AMERICA,             :
                                      :
v.                                    :
                                      :                        Case No. 23-CR-307 (LJL)
MICHAEL SHVARTSMAN,                   :
GERALD SHVARTSMAN, and                :
BRUCE GARELICK,                       :
                                      :
                                                        :
               Defendants.            :
--------------------------------------x

                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

supporting Declaration of Tai H. Park, dated February 29, 2024, Defendant MICHAEL

SHVARTSMAN will move before the Honorable Lewis J. Liman, United States District Judge for

the Southern District of New York, located at 500 Pearl Street, New York, New York 10007, at a

time to be set by the Court, to transfer the money laundering counts (Count Eleven and Count

Twelve), as well as the forfeiture charges, of the Superseding Indictment, to the Southern District

of Florida pursuant to Fed. R. Crim P. 21(b), and for a Bill of Particulars in connection with Count

Eleven of the Superseding Indictment.

Dated: February 29, 2024

                                                  Respectfully submitted,

                                              By: /s/ TAI H. PARK
                                                  Tai H. Park
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                                                   Counsel for Michael Shvartsman
